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                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION


IN RE: HOTEL BOOKING ACCESS FOR                              MDL DOCKET NUMBER: 2978
       INDIVIDUALS WITH DISABILITIES


                                 NOTICE OF RELATED ACTIONS

       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation defendant Hotels and Stuff Inc., writes to notify you of the newly filed related

action listed on the attached Schedule of Actions.

       Docket sheets and complaints are attached.




                                                             Respectfully submitted,

                                                             HOTELS AND STUFF INC.

                                                             By: /s/ J. Allen Roth, Esq.
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